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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                GREENVILLE DIVISION

Timothy Tangen,
                 Plaintiff,
                                                          C/A No.: 6:21-cv-00335-JD
        v.

Fluor Intercontinental, Inc., et al.,
                 Defendants.



Marissa Brown,
                 Plaintiff,                               C/A No.: 6:21-cv-01427-JD

        v.

Fluor Intercontinental, Inc., et al.,
                 Defendants.


Shelby Iubelt, individually, on behalf of the
                                                          C/A No.: 6:21-cv-01420-JD
Estate of Tyler Iubelt, and as next friend of
V.I., minor,
                 Plaintiff,

        v.

Fluor Intercontinental, Inc., et al.,
                 Defendants.


Lakeia Stokes,
                 Plaintiff,                               C/A No.: 6:21-cv-01086-JD

        v.

Fluor Intercontinental, Inc., et al.,
                 Defendants.
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Maggie Bilyeu,
                Plaintiff,
                                                           C/A No.: 6:21-cv-01078-JD
        v.

Fluor Intercontinental, Inc., et al.,
                Defendants.


Addie Ford,
                Plaintiff,                                 C/A No.: 6:21-cv-01159-JD

        v.

Fluor Intercontinental, Inc., et al.,
                Defendants.


Marvin Branch,
                                                           C/A No.: 6:21-cv-01083-JD
                Plaintiff,

        v.

Fluor Intercontinental, Inc., et al.,
                Defendants.


Julianne Perry, individually, on behalf of the
Estate of John Perry, and as next friend of L.P.
and G.P., minors,                                          C/A No.: 6:21-cv-01250-JD
                Plaintiff,

        v.

Fluor Intercontinental, Inc., et al.,
                Defendants.




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Haylee Rodriguez,
                                                          C/A No.: 6:21-cv-01084-JD
                 Plaintiff,

        v.

Fluor Intercontinental, Inc., et al.,
                 Defendants.


India Sellers,
                 Plaintiff,                               C/A No.: 6:21-cv-01085-JD

        v.

Fluor Intercontinental, Inc., et al.,

                 Defendants.

Samuel Gabara,
                 Plaintiff,                               C/A No.: 6:21-cv-01007-JD

        v.

Fluor Intercontinental, Inc., et al.,

                 Defendants.


Chris Colavita,
                 Plaintiff,
                                                          C/A No.: 6:21-cv-01017-JD
        v.

Fluor Intercontinental, Inc., et al.,
                 Defendants.




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    Robert Healy,
                                                               C/A No.: 6:21-cv-01018-JD
                    Plaintiff,
                                                               DEFENDANTS FLUOR
            v.                                             INTERCONTINENTAL, INC. AND
                                                            FLUOR GOVERNMENT GROUP
    Fluor Intercontinental, Inc., et al.,                 INTERNATIONAL, INC.’S NOTICE
                    Defendants.



           Defendants Fluor Intercontinental, Inc. and Fluor Government Group International, Inc.

(collectively, “Fluor”) hereby file with this notice, as instructed by chambers, their dispositive

motion from Timothy Tangen v. Fluor Intercontinental, Inc., et al., C/A No.: 6:21-cv-00335-JD 1

in order to incorporate the arguments made therein for all of these consolidated cases. Plaintiffs’

counsel is aware of the Court’s instruction and this filing. Plaintiffs’ counsel has indicated they

will file their response in opposition from Tangen 2 in the same manner so as to fully incorporate

the arguments of the parties in all of these consolidated cases. Defendants will file additional

dispositive motions by July 30, 2021 in accordance with the deadline set by the Court.

                                                Respectfully submitted,

                                                NEXSEN PRUET, LLC

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                                                Andrew A. Mathias, Fed. ID No. 10166
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           See Tangen at ECF No. 14.
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           See Tangen at ECF No. 46.
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                                         Attorneys for Defendants Fluor Intercontinental, Inc.
                                         and Fluor Government Group International, Inc.
July 28, 2021
Greenville, South Carolina




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